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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )      Case No. 09-CR-206
               v.                                    )      Honorable Harry D. Leinenweber
                                                     )      Judge Presiding
MARIO J. RAINONE                                     )

 DEFENDANT MARIO J. RAINONE’S REPLY TO THE GOVERNMENTS RESPONSE
                   FOR COMPASSIONATE RELEASE

        The Defendant, MARIO J. RAINONE, by and through his attorneys, JOSEPH R. LOPEZ

and LISA M. LOPEZ, herby files his reply to the government’s response to his motion for

compassionate release. Mr. Rainone should be granted compassionate release because of his age,

pre-existing, and current conditions that make him more susceptible to COVID-19. In support of

his request for compassionate release, Mr. Rainone offers the following additional information:

I.      This Court has the Power to Grant the Relief that Mr. Rainone Seeks

        The First Step Act governs compassionate release, and it provides four prerequisites that

a Defendant must demonstrate before a court will grant such relief. 18 U.S.C. § 3582(c)(1)(A)(i)

(Westlaw current through 2020). The defendant must first show that he has exhausted his

administrative remedies, and next, that “extraordinary and compelling reasons” warrant his

release. 18 U.S.C. § 3582(c)(1)(A). The Court must then consider the sentencing factors under

18 U.S.C. § 3553(a), and finally, determine whether the inmate’s release is consistent with the

Sentencing Commission’s policy statements. Id.

        In its response to Mr. Rainone’s motion for compassionate release, the government

concedes that Mr. Rainone has exhausted his administrative rights. Dkt. 178 at 7. The core of its

argument in opposition to Mr. Rainone’s motion focuses on his lack of “extraordinary and

compelling reasons” that would allow this Court to grant him compassionate release. Id. at 8-13.
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Specifically, the government points out that Mr. Rainone’s age and health problems, combined

with the deadly COVID-19 pandemic, do not fit neatly within one of the four scenarios for

release that the Sentencing Commission described in U.S.S.G. § 1B1.13. Id. at 8-9. The

government noted that the First Step Act updated “the procedure through which compassionate

release could be sought,” but “did not alter the grounds for granting relief.” Id. at 9.

       The government’s interpretation of the relevant provisions of the First Step Act flies in

the face of Congress’s intent when it passed the legislation, which was to increase the availability

of compassionate release. See § 603(b) of Public Law 115-391, entitled “Increasing the Use and

Transparency of Compassionate Release.” Pub. L. No. 115-391, 132 Stat. 5239 (2018).

Furthermore, the “vast majority” of district courts around the United States, have held that, since

the passage of the First Step Act, §1B1.13 “is not binding but is, rather, helpful guidance.”

United States v. Almontes, 2020 WL 1812713, at *3 (D. Conn. Apr. 9, 2020) (collecting cases).

Even more recently, here in the Northern District of Illinois, a court twice joined that ‘vast

majority,’ holding that:

       while the criteria in § 1B1.13 provides useful guideposts, the court may look beyond the
       defendant’s medical condition, age, and family circumstances, as delineated in the
       Sentencing Commission’s guidance, to construe what constitutes extraordinary and
       compelling circumstances.

Id., United States v. Robert Cardena, No. 09-CR-0332, slip op. at 6 (N.D. Ill. May 15, 2020)

(ECF No. 1890); United States v. Lewellen, 09-CR-0332, slip op. at 6 (N.D. Ill. May 22, 2020)

(ECF No. 1896). Courts around the United States have already rejected the government’s

interpretation of the First Step Act, and this Court should do the same. This Court is not bound

by any particular compassionate release scenarios that the Sentencing Commission has

prescribed in U.S.S.G. § 1B1.13. Rather, “district courts themselves have the power to determine

what constitute extraordinary and compelling reasons for compassionate release.” United States



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v. Young, 2020 WL 1047815, at *6 (M.D. Tenn. Mar. 4, 2020). Hence, this Court has the power

to grant the compassionate release that Mr. Rainone is requesting.

II.      Mr. Rainone’s Circumstances are Extraordinary and Compelling, and all Other
         Factors Warrant his Release

         The COVID-19 pandemic has killed 112,878 people in the United States, and nearly 2

million people in this country have contracted the virus.1 A little over one month ago, an ABC

News article citing sources from the BOP, reported that 70 percent of the inmates that the BOP

had tested were positive for COVID-19.2 While that percentage is alarming, the lack of

transparency with the data that the BOP is, and is not, releasing, is equally as troubling. A Forbes

article showed anomalies in the data, leading to the conclusion that the BOP is almost certainly

underreporting the number of inmates who are sick with COVID-19.3 The underreporting may

not be due to any nefarious plot by the BOP, but may simply have been, or currently still is, a

factor of the BOP not having sufficient resources to adequately test inmates. The likely

misinformation is, nonetheless, alarming, and endangering the health and lives of inmates and

staff in all BOP facilities.

         The BOP system where Mr. Rainone is housed is a striking example of the questionable

or misleading data that the BOP is disseminating. The BOP shows that FMC Rochester shows no



1
 COVID-19 Dashboard by the Center for Systems Science and Engineering (CSSE),
https://gisanddata.maps.arcgis.com/apps/opsdashboard/index.html#/bda7594740fd40299423467
b48e9ecf6 (last visited June 10, 2020).
2
 Luke Barr, 70% of inmates tested have COVID-19: Bureau of Prisons,
https://abcnews.go.com/US/70-inmates-tested-covid-19-bureau-prisons/story?id=70454527
(May 1, 2020).
3
 Walter Pavlo, Bureau Of Prisons Underreporting COVID-19 Outbreaks In Prison,
https://www.forbes.com/sites/walterpavlo/2020/04/01/bureau-of-prisons-underreporting-
outbreaks-in-prison/#2a5bcd747ba3 (April 1, 2020).



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cases of inmates or staff who have tested positive for COVID-19 but one staff member who has

recovered, likely meaning there was once one reported case in that jail earlier in the pandemic.

According to the BOP’s website, FMC Rochester houses 663 inmates.4 The Bop’s COVID-19

website shows that out of the entire 134,112 inmates and 36,000 staff members, 2085 inmates

and 191 staff members have tested positive.5 Thus, the combined percentage of inmates and

staff who have tested positive across the entire BOP system is about 1.55 percent. Based on that

percentage, one would expect that FMC Rochester would have about 10 reported cases, yet the

BOP data shows no current cases and one staff recovery. Again, Mr. Rainone makes no

argument that the BOP is willfully misleading the public with its data. Rather, his argument here

is that the data is inconsistent and contradictory, and that it does not come close to reflecting the

real risks of infection that inmates and staff members are facing.

           The BOP cannot assure this Court that Mr. Rainone will not contract COVID-19. If he

were to contract the virus, the consequences would be severe due to his chronic state 3 kidney

disease. “Patients with … chronic kidney disease … can be more susceptible to COVID-19 and

are likely to experience more severe illness.” https://www.dynamed.com/management/covid-19-

and-patients-with-chronic-kidney-disease-ckd-and-end-stage-renal-disease-esrd (last visited June

10, 2020). Further, Mr. Rainone’s past history of prostate cancer makes him more vulnerable due

to his weakened immune system from having 42 chemotherapy treatments.

https://www.cancer.net/blog/2020-05/common-questions-about-covid-19-and-cancer-answers-

patients-and-survivors (last visited June 10, 2020). Besides the 42 chemotherapy treatments, Mr.

Rainone received the “Red Devil,” known as Doxorubicin, which is a chemotherapy drug used to

treat many different types of cancer.


4
    https://www.bop.gov/locations/institutions/rch/
5
    https://www.bop.gov/coronavirus/


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       Furthermore, while the government asserts that Mr. Rainone does not currently suffer

from skin cancer, but rather “scaly and patchy skin due to sun exposure” (Dkt. 1155 at 10), it

neglects to note that a percentage of the actinic keratosis can turn into skin cancer if left

untreated. https://www.mayoclinic.org/diseases-conditions/actinic-keratosis/symptoms-

causes/syc-20354969 (last visited June 10, 2020). Mr. Rainone lives under the belief that he has

skin cancer, but Mr. Rainone, like the government, is not a medical professional qualified to

diagnose or treat diseases. A medical professional at FCM-Rochester ordered a biopsy on Mr.

Rainone’s actinic keratosis. However, that biopsy was never completed due to the COVID-19

pandemic and related shutdown. Nothing about Mr. Rainone’s representation in his first motion

that he has skin cancer or prostate cancer was intended as a “misleading representation.” Id.

       Next, although Mr. Rainone has an admittedly lengthy criminal history, he has served his

sentence for the crimes he committed. The crime his is currently serving time for involves

possessing an unloaded weapon with a felony conviction. This crime would carry a substantially

lower sentence had it not been prosecuted in federal court.

       Mr. Rainone has established extraordinary and compelling reasons to warrant a reduction

of his sentence and a compassionate release. Further, his circumstances satisfy all other

conditions that courts look to when evaluating a compassionate release request under the First

Step Act. Mr. Rainone has a place to live with his daughter, and requests that any time of

quarantine be served in her home. This Court should grant Mr. Rainone’s request for

compassionate release.

       WHEREFORE, Defendant Mario Rainone respectfully requests that this Honorable Court

modify his sentence under 18 U.S.C. §3582(c)(1)(A)(i) and grant him compassionate release.

Mr. Rainone consents to home confinement for a period that the Court sees fit to order as a




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condition of his supervised release. Mr. Rainone also requests any additional relief that he may

be entitled to by law, or that this Court deems just.

                                               Respectfully submitted,

                                               /s/Joseph R. Lopez
                                               s/Lisa M. Lopez



Dated: June 10, 2020




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                                 CERTIFICATE OF SERVICE

      I, Lisa M. Lopez, attorney for Mario J. Rainone, hereby certify that on Wednesday, the

10th of June 2020, I filed the above-described document on the CM/ECF system of the United

States District Court for the Northern District of Illinois, which constitutes service of the same.

                                          Respectfully submitted,

                                          /s/Lisa M. Lopez




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